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KILPATRICK TOWNSEND & STOCKTON LLP
LARRY W. MCFARLAND (State Bar NO. 129668)

LMcFarland
DENNIS L.
DWilson kil atricktownsend.com
CHRIST ' _
CVaraS kllpatrlcktownsend.com
9720 Wl Shire Blvd PH

Beverly Hills, CA 90212-2018
Telephone: 310-248-3830
Facslmile: 310~860-0363

kil atricktownsend.oom
IL ON (State Bar No. 155407)

R T. VARAS (State Bar NO. 257080)

JOSEPH PETERSEN (admitted pro hac vice)

JPeterSen kil ayricktownsend.com
The Grace ul dlng

1 l 14 Avenue of the Americas

New York, NY 10036-7703
Telephc_)ne: 212-775-8700
Facslmlle: 212-775-8800

Attorneys for Plaintiff
LIONS GATE FILMS INC.

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

LIONS GATE FILMS INC.,
Plaintiff,
v.

AHMED SALEH, an individual;
AMIEL ELBAR, an individual;
MUHAMMAD JAVED ASHRAF, an
individual; TOM MESSCHENDORP,
an individual; JEROME GILLAN, an
individual; LUCAS LIM, an
individual; and JOHN DOES 1-4,
lncluslve..

Defendants.

 

 

FIRST AMENDED COMPLAlNT
CASE. NO. 2114-CV-06033-MMM-AGRX

CASE NO. 2:14-cv-06033-MMM-AGR

FIRST AMENDED COMPLAINT
F()R:

(l) DIRECT FEDERAL
COPYRIGHT INFRINGEMENT (17
U.S.C. §§ 501, et seq.);

(2) CONTRIBUTORY FEDERAL
COPYRIGHT INFRINGEMENT (17
U.S.C. §§ 501, et seq.);

(3) VICARIOUS FEDERAL
COPYRIGHT INFRINGEMENT (17
U.S.C. §§ 501, et seq.); and

JURY TRIAL DEMANDED

 

Case 11

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Pursuant to Federal Rule of Civil Procedure 15, Plaintiff Lions Gate Films
Inc. (“Lions Gate” or “Plaintiff’), through its attorneys, complaining of Defendants
Ahmed Saleh, Amiel Elbar, Muhammad Javed Ashraf, Tom Messchendorp, Jerome
Gillan, Lucas Lim and JOHN DOES 1-6 (collectively “Defendants”), alleges as
follows:

JURISDICTION AND VENUE

1. This lawsuit arises from Defendants’ willful and malicious violation of
the federal Copyright Act (17 U.S.C. §§ 101, et seq.).

2. This Court has Subject matter jurisdiction pursuant to 17 U.S.C. § 501,
28 U.S.C. § 1331, and § 1338(a).

3. Venue in this district is proper pursuant to 28 U.S.C. § 1391.

4. Lions Gate is informed and believes and on that basis alleges that
personal jurisdiction in this District is proper because each Defendant, without
consent or permission of Plaintiff, distributed and offered to distribute over the
Internet copyrighted works for which Plaintiff has exclusive rights. On information
and belief, such unlawful distribution occurred in every jurisdiction in the United
States, including this one. In addition, each Defendant has directed tortious acts at
Lions Gate in this District and has committed tortious acts that each Defendant knew
or should have known would cause injury to Lions Gate in this District.

THE PARTIES

5. Lions Gate is a company organized and existing under the laws of the
State of Delaware, having its principal place of business at 2700 Colorado Ave.,
Suite 200, Santa Monica, CA 90404.

6. Lions Gate is informed and believes that defendant Ahmed Saleh is an
individual residing in Egypt.

7. Lions Gate is informed and believes and on that basis alleges that
defendant Amiel Elbar is an individual residing in Israel.

8. Lions Gate is informed and believes and on that basis alleges that

FIRST AMENDED COMPLAINT
CASE. NO. 2:14-CV-06033-l\/IMM~AGRX - 2 -

 

Case 2.

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defendant Muhammad Javed Ashraf is an individual residing in Pakistan.

9. Lions Gate is informed and believes that defendant Tom Messchendorp
is an individual residing in Spain.

10. Lions Gate is informed and believes that defendant Jerome Gillan is an
individual residing in the State of Ohio.

1 1. Lions Gate is informed and believes that defendant Lucas Lim is an
individual residing in Singapore.

12. Lions Gate is currently unaware of the identities of defendants John
Does 1-4 and therefore sues these defendants by such fictitious acronyms. Lions
Gate will seek lave to amend its complaint to name these defendants when their
identities and locations have been ascertained

LIONS GATE’S RIGHTS AND DEFENDANTS’ UNLAWFUL CONDUCT

13. The work at issue in this lawsuit is the forthcoming third installment in
the blockbuster “The Expendables” motion picture franchise, “The Expendables 3”
(the “Film”). The Film had its theatrical release in North America on August 15,
2014.

14. The cast of the Film includes Sylvester Stallone, Jason Statham, Arnold
Schwarzenegger, Mel Gibson, Harrison Ford, Wesley Snipes, Dolph Lundgren and
Antonio Banderas among many others. The first two fllms in this franchise, “The
Expendables” and “The Expendables 2”, generated worldwide box office revenues
in excess of $575 million.

15. The Film is the subject of United States Copyright Registration No.
PAu003734299, issued on July 29, 2014. In addition, the screenplay for the Film is
the subject of United States Copyright Registration No. PAu003704583, issued on
July 10, 2013, which is valid, subsisting and in full force and effect. The Film is a
derivative work based on the registered screenplay.

16. Lions Gate has been licensed the sole and exclusive right to distribute

and exploit the Film in the United States and throughout North America. Lions

FIRST AMENDED COMPLAINT

 

CASE. NO. 2:14-CV-06033-MMM-AGRX - 3 ~

 

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Gate’s exclusive rights in the Film pursuant to this exclusive license include but are
not limited to all rights in the United States and throughout North America to exploit
the Film by means of direct exhibition in theaters, by means of the Internet and in all
home video media, among other rights.

17. On or about July 24, 2014, Lions Gate learned that a digital file
containing a high quality reproduction of the Film had been stolen and uploaded to
the Internet without Lions Gate’s authorization or consent. Lions Gate is informed
and believes and on that basis alleges that only a single digital file containing the
Film was stolen, and that every copy of the Film alleged in its original complaint
(and every copy available anywhere on the Internet as of the date Lions Gate filed
its original complaint) originated from and is a reproduction of that single original
digital file (hereinafter the “Stolen Film”). Accordingly, Lions Gate’s claims
against Defendants arise out of the same transaction, occurrence, or series of
transactions or occurrences.

18. Lions Gate is informed and believes and on that basis alleges that
Defendants herein have distributed, reproduced, performed and otherwise exploited
the Stolen Film in violation of Lions Gate’s exclusive rights as set forth below.

<limetorrents.com>, <limetorrents.net>, <limetorrents.cc>,
<torrentdownload.biz>

19. Lions Gate is informed and believes and on that basis alleges that
defendant Muhammad Javed Ashraf and one or more of the other defendants operate
websites at the domain names <limetorrents.com>, <limetorrents.net>,
<limetorrents.cc> and <torrentdownload.biz> (collectively the “Ashraf Sites”).
Lions Gate is informed and believes and on that basis alleges that the operator(s) of
the Ashraf Sites have unlawfully disseminated the Stolen Film using the
“BitTorrent” protocol, which is a type of peer-to-peer filesharing protocol.
Specifically, these sites host small files called “torrent” files. Each torrent file

contains an instruction set including a unique “hash value” that allows the end user’s

FIRST Al\/IENDED COl\/IPLAINT
CASE. NO. 2114-CV~06033-Ml\/ll\/l-AGRX ~ 4 -

 

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client program to locate and connect to a group of other users (called a “swarm”)
who are all simultaneously sharing copies of the Stolen Film with one another. By
downloading one of these “torrent” files associated with the Stolen Film from one of
the Ashraf Sites, users join a “swarm” where they download parts of the Stolen Film
from many different users and also upload to other users parts of the Stolen Film
they have already received, until eventually they have reproduced the entire Stolen
Film on their own hard drives and in most cases have also uploaded all or a
substantial part of the Stolen Film to others.

20. Lions Gate first became aware that copies of the Stolen Film were
being disseminated through <limetorrents.com> on or about July 25, 2014 and
subsequently discovered that the Ashraf Sites are under common ownership and
control and have all been used to disseminate the Stolen Film. Lions Gate sent
multiple demand letters to the operator(s) of the Ashraf Sites demanding that they
immediately cease their infringement but received no response, and the infringement
did not stop.

<billionuploads.com>

21. Lions Gate is informed and believes and on that basis alleges that
defendant Amiel Elbar and one or more of the other defendants operate a website at
the domain name <billionuploads.com>. Lions Gate is informed and believes and
on that basis alleges that the operator(s) of <billionuploads.com> have unlawfully
disseminated the Stolen Film by hosting copies of the Stolen Film in one or more
directories where users could download copies of the Stolen Film directly to their
computers

22. Lions Gate first became aware that copies of the Stolen Film were
being disseminated through <billionuploads.com> on or about July 25, 2014. Lions
Gate sent multiple demand letters to the operator(s) of the site demanding that
immediately cease their infringement but received no response, and the infringement

did not stop.

FIRST AMENDED COMPLAINT
CASE. NO. 2:14-CV-06033-l\/[l\/[M-AGRX - 5 ~

 

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<hulkfile.eu>, <fllestorm.to>

23. Lions Gate is informed and believes that defendant Ahmed Saleh and
one or more of the other defendants operate websites at the domain names
<hulkfile.eu> and <filestorm.to> (collectively the “Saleh Sites”). Lions Gate is
informed and believes and on that basis alleges that the operator(s) of the Saleh Sites
have unlawfully disseminated the Stolen Film by hosting copies of the Stolen Film
in one or more directories where users could download copies of the Stolen Film
directly to their computers

24. Lions Gate first became aware that copies of the Stolen Film were
being disseminated through <hulkfile.eu> on or about July 25, 2014. Lions Gate
sent multiple demand letters to the operator(s) of the site demanding that they
immediately cease their infringement but received no response and the infringement
did not cease.

25. Following entry of the Court’s preliminary injunction and temporary
restraining order in this case Lions Gate is informed and believes that the operator(s)
of <hulkfile.eu> established the website <filestorm.to> where they continued to
infringe Lions Gate’s rights in the Stolen Film despite written demands from Lions
Gate that they cease their infringement

<played.to>

26. Lions Gate is informed and believes that defendant Jerome Gillan
operates a website at the domain name <played.to>. Lions Gate is informed and
believes and on that basis alleges that defendant Gillan has unlawfully disseminated
the Stolen Film by hosting copies of the Stolen Film in one or more directories and
by displaying an embedded viewing window in which users could stream copies of
the Stolen Film directly to their screens.

27. Lions Gate first became aware that copies of the Stolen Film were
being disseminated through <played.to> on or about July 25, 2014. Lions Gate sent

multiple demand letters to Mr. Gillan demanding that he immediately cease his

FIRST Al\/IENDED COMPLAINT
CASE. NO. 2:14~CV-06033-MMM-AGRX - 6 -

 

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infringement but received no response and the infringement did not stop.
<swankshare.com>

28. Lions Gate is informed and believes that defendant Lucas Lim and one
or more of the other defendant(s) operate a website at the domain name
<swankshare.com>. Lions Gate is informed and believes and on that basis alleges
that the operator(s) of <swankshare.com> have unlawfully disseminated the Stolen
Film by hosting copies of the Stolen Film in one or more directories where users
could download copies of the Stolen Film directly to their computers

29. Lions Gate is informed and believes that copies of the Stolen Film were
being disseminated through <swankshare.com> as early as July 25, 2014. Lions
Gate sent multiple demand letters to the operator(s) of the site demanding that they
immediately cease their infringement but received no response and the infringement
did not stop.

<dotsemper.com>

30. Lions Gate is informed and believes and on that basis alleges that
defendant Tom Messchendorp and one or more of the other defendants operate a
website at the domain name <dotsemper.com>. Lions Gate is informed and believes
and on that basis alleges that the operator(s) of <dotsemper.com> have unlawfully
disseminated the Stolen Film in multiple ways.

31. First, <dotsemper.com> has hosted copies of the Stolen Film in one or
more directories where users could download copies of the Stolen Film directly to
their computers

32. Second, <dotsemper.com> has also displayed an embedded viewing
window in which users could stream copies of the Stolen Film directly to their
screens.

33. Lions Gate first became aware that copies of the Stolen Film were
being disseminated through <dotsemper.com> on or about July 25, 2014. Lions

Gate sent multiple demand letters to the operator(s) of the site demanding that they

FIRST AMENDED COMPLAINT
CASE. NO. 2114-CV-06033-MMM-AGRX - 7 -

 

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immediately cease their infringement but received no response and the infringement
did not stop.

34. Lions Gate is informed and believes and on that basis alleges that
Defendants and each of them are either continuing to unlawfully distribute,
reproduce, perform and otherwise exploit copies of the Stolen Film to users in the
United States (and elsewhere) or would be continuing such unlawful conduct but for
the preliminary injunction entered by the Court in this matter.

35. Lions Gate is informed and believes that Defendants and each of them
have used Internet Service Providers located in California and/or elsewhere in the
United States to carry out their unlawful activities alleged herein.

36. Lions Gate has not authorized Defendants to distribute, reproduce,
perform or otherwise exploit the Film within the United States or North America.

37. Lions Gate is informed and believes and on that basis alleges that
Defendants and each of them have actual and constructive knowledge of Lions
Gate’s exclusive rights in the Film, and have distributed, reproduced, performed and
otherwise exploited the Stolen Film willfully, maliciously and with wanton
disregard of Lions Gate’s exclusive rights.

FIRST CAUSE OF ACTION
(Direct Federal Copyright Infringement - Against All Defendants)
[17 U.S.C. §§ 501, et seq.]

38. Lions Gate refers to, repeats and realleges all allegations contained in
Paragraphs l through 37 of this First Amended Complaint and incorporates them by
reference as though set forth in full.

39. At all relevant times, Lions Gate has been the exclusive licensee with
the sole and exclusive right to distribute, reproduce, perform and otherwise exploit
the Film in the United States and throughout North America.

40. Defendants have willfully, intentionally and maliciously distributed,

reproduced, performed and otherwise exploited the Film without Lions Gate’s

FIRST Al\/IENDED COMPLAINT
CASE, NO. 2:14-CV-06033-MMM-AGRX - 8 -

 

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authorization, consent or approval and in violation of Lions Gate’s exclusive rights
under the Copyright Act.

41. Lions Gate is informed and believes and on that basis alleges that
Defendants, and each of them, are fully aware of Lions Gate’s exclusive rights, and
have infringed Lions Gate’s rights willfully, maliciously and with wanton disregard

42. Defendants’ conduct as alleged herein has caused and in the absence of
permanent injunctive relief will continue to cause Lions Gate irreparable harm for
which there is no adequate remedy at law, and has also caused damage to Lions
Gate in an amount which cannot be accurately computed at this time but will be
proven at trial.

SEC()ND CAUSE OF ACTION
(Contributory Federal Copyright Infringement - Against All Defendants)
[17 U.S.C. §§ 501, et seq.]

43. Lions Gate refers to, repeats and realleges all allegations contained in
Paragraphs 1 through 42 of this First Amended Complaint and incorporates them by
reference as though set forth in fiall.

44. At all relevant times, Lions Gate has been the exclusive licensee with
the sole and exclusive right to distribute, reproduce, perform and otherwise exploit
the Film in the United States and throughout North America.

45. Lions Gate is informed and believes and on that basis alleges that
individuals in the United States and elsewhere have used Defendants’ websites to
directly infringe Lions Gate’s exclusive rights under the Copyright Act on a daily
basis by, for example, creating and distributing unauthorized reproductions of the
Stolen Film in violation of Lions Gate’s exclusive rights. Each such violation of
Lions Gate’s exclusive rights constitutes a separate and distinct act of copyright
infringement

46. Defendants are liable as contributory infringers for the copyright

infringement committed via their websites. Defendants have knowledge of this

FIRST Al\/IENDED COMPLAINT
CASE. NO. 2214~CV-06033-MMM-AGRX - 9 -

 

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infringement, including without limitation because Lions Gate notified them of the
infringement, but Defendants continued to cause, enable, induce, facilitate and
materially contribute to the infringement by continuing to provide their users with
the means to unlawfully distribute, reproduce and otherwise exploit the Stolen Film
in the manner described above.

47. Through the conduct described above, Defendants are contributorily
liable for the infringement described herein.

48. Lions Gate is informed and believes and on that basis alleges that
Defendants, and each of them, are fully aware of Lions Gate’s exclusive rights, and
have contributorily infringed Lions Gate’s rights willfully, maliciously and with
wanton disregard

49. Defendants’ conduct as alleged herein has caused and in the absence of
permanent injunctive relief will continue to cause Lions Gate irreparable harm for
which there is no adequate remedy at law, and has also caused damage to Lions
Gate in an amount which cannot be accurately computed at this time but will be
proven at trial.

THIRD CAUSE OF ACTI()N
(Vicarious Federal Copyright Infringement - Against All Defendants)
[17 U.S.C. §§ 501, et seq.]

50. Lions Gate refers to, repeats and realleges all allegations contained in
Paragraphs 1 through 49 of this First Amended Complaint and incorporates them by
reference as though set forth in full.

51. At all relevant times, Lions Gate has been the exclusive licensee with
the sole and exclusive right to distribute, reproduce, perform and otherwise exploit
the Film in the United States and throughout North America.

52. Lions Gate is informed and believes and on that basis alleges that
individuals in the United States and elsewhere have used Defendants’ websites to

directly infringe Lions Gate’s exclusive rights under the Copyright Act on a daily

FIRST AMENDED COMPLAINT
CASE. NO. 2:14-CV-06033-MMM-AGRX - 10 -

 

Case 2

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basis by, for example, creating and distributing unauthorized reproductions of the
Stolen Film in violation of Lions Gate’s exclusive rights. Each such violation of
Lions Gate’s exclusive rights constitutes a separate and distinct act of copyright
infringement

53. Defendants are liable as vicarious infringers for the copyright
infringement committed via their websites. At all relevant times, Defendants (i)
have had the right and ability to control and/or supervise the infringing conduct of
their users, and (ii) have had a direct financial interest in, and derived financial
benefit from, such infringing conduct

54. By way of example and without limitation, Lions Gate is informed and
believes and on that basis alleges that Defendants have derived a financial benefit
from the infringing conduct by generating revenue from paid advertisements and/or
solicitations of donations that are or were displayed on Defendants’ websites
alongside or in close proximity to the links that have provided Defendants’ users
with the means to unlawfully distribute, reproduce and otherwise exploit the Stolen
Film.

55. Lions Gate is informed and believes and on that basis alleges that
Defendants and each of them have the right and ability to supervise this infringing
conduct because, among other things, Defendants operate the websites and exercise
direct control over the content that users can access through their websites and the
conditions under which users can access such content

56. Through the conduct described above, Defendants are vicariously liable
for the infringement described herein.

57. Lions Gate is informed and believes and on that basis alleges that
Defendants, and each of them, are fully aware of Lions Gate’s exclusive rights, and
have vicariously infringed Lions Gate’s rights willfully, maliciously and with
wanton disregard

58. Defendants’ conduct as alleged herein has caused and in the absence of

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CASE. NO. 2114-CV-06033-l\/IMM~AGRX - ll -

 

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permanent injunctive relief will continue to cause Lions Gate irreparable harm for

which there is no adequate remedy at law, and has also caused damage to Lions

Gate in an amount which cannot be accurately computed at this time but will be

proven at trial.

PRAYER FOR RELIEF

WHEREFORE, Lions Gate demands judgment against the Defendants

jointly and severally, and demands that the Court grant Lions Gate relief against the

Defendants jointly and severally as set forth below.

1. That the Court enter a permanent injunction:

a. Prohibiting Defendants and each of them, including without limitation

their agents, servants, employees, officers, attorneys, successors,

licensees, partners, and assigns and all those acting in active concert or

participation with any of them, as well as any person in possession of the

Stolen Film or any portion thereof, from:

i.

ii.

hosting, linking to, distributing, reproducing, performing, selling,
offering for sale, making available for download, streaming or
making any other use of any copy or copies of the Stolen Film or
any portion thereof in any form;

taking any action that induces, causes or materially contributes to
the direct infringement of Lions Gate’s rights in the Film by any
third party, including without limitation hosting, linking to or
otherwise providing access to any torrent files, trackers, links
(including without limitation magnet links), hash values or other
instruction sets of any kind that enable users to locate or access
any “swarm” or other location where any copy or copies of the
Stolen Film or any portion thereof are being distributed,

reproduced, performed or otherwise exploited in any form; and

FIRST AMENDED COMPLAINT
CASE. NO. 2114-CV-06033-MMM~AGRX - 12 -

 

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iii. otherwise infringing Lions Gate’s rights in any manner, whether
directly, contributorily, vicariously or in any other way;

b. Prohibiting Defendants and each of them, including without limitation
their agents, servants, employees, officers, attorneys, successors,
licensees, partners, and assigns and all those acting in active concert or
participation with any of them, from operating any of the websites
identified in this Complaint and such further and additional websites that
may be discovered and submitted to the Court to be added to the
injunction as the Court finds equitable and appropriate;

c. Requiring Defendants and each of them, including without limitation
their agents, servants, employees, officers, attorneys, successors,
licensees, partners, and assigns and all those acting in active concert or
participation with any of them, to take all steps necessary to recall and
recover all copies of the Stolen Film or any portion thereof that they
have distributed, reproduced or otherwise made available to any other
person at any time and to turn over such recalled and recovered copies to
Lions Gate;

d Requiring Defendants and each of them, including without limitation
their agents, servants, employees, officers, attorneys, successors,
licensees, partners, and assigns and all those acting in active concert or
participation with any of them, to deliver to Lions Gate, at Defendants’
cost:

i. All hard copy and electronic copies of the Stolen Film and any
images from or other portions of the Stolen Film, as well as any
other images or films owned by Lions Gate, or any portions or
modifications thereof, within the possession, custody or control of
Defendants and any of them, pursuant to an appropriate protocol

for identifying and retrieving all infringing electronically stored

FIRST AMENDED COMPLAINT
CASE. NO. 2:14-CV-06033-MMM-AGRX - 13 -

 

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ii.

iii.

information within the possession, custody or control of
Defendants and each of them;

Verifications executed under penalty of perjury confirming that
Defendants and each of them have complied with the requirements
of subparagraphs 1(a) through l(d)(i) above and that no copies of
the Stolen Film or any portions thereof remain within their
possession, custody or control; and

All servers, hard drives, flash drives, solid state drives, optical
discs, mobile devices, personal computers and any other medium
within their possession, custody or control on which any copy or
copies of the Stolen Film or any images from or other portions of
the Stolen Film, or any other images or films owned by Lions
Gate, or any portions or modifications thereof presently reside, or
which have been used to disseminate any portion of the Stolen
Film or any other portion thereof or any other images or films
owned by Lions Gate, including all passwords, encryption keys
and other credentials, data or other information that Lions Gate
may require in order to conduct an independent forensic
investigation to confirm that Defendants and each of them have
complied with the requirements of Paragraphs 1(a) through l(d)(i)
above and that the verifications delivered pursuant to Paragraph

l(d)(ii) above are truthful; and

e. Prohibiting Defendants and each of them, including without limitation

their agents, servants, employees, officers, attorneys, successors,

licensees, partners, and assigns and all those acting in active concert or

participation with any of them, from effecting assignments or transfers,

forming new entities or associations or utilizing any other device for the

FIRST Al\/IENDED COl\/IPLAINT
CASE. NO. 2214-CV-06033-MMM-AGRX - 14 -

 

Case 2

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purpose of circumventing or otherwise avoiding the prohibitions set
forth herein;

Ordering that all third parties, including without limitation all Internet
Service Providers (“ISP”), hosts, domain name server operators, cloud
storage providers and advertising service providers, who are currently
providing services used in connection with the websites identified in this
Complaint or such further and additional websites that may be
discovered and submitted to the Court, be added to the injunction as the

Court finds equitable and appropriate;

. Requiring all network information centers, registry operators and/or

domain name registrars currently providing services in connection with
the domain names identified in this First Amended Complaint or such
further and additional domain names that may be discovered and
submitted to the Court to be added to the injunction as the Court finds
equitable and appropriate to disable service to such domain names, to
place such domain names on “locked” status and to take all steps
necessary to cancel the registrations of such domain names or effect the
transfer of the registrations of such domain names to Lions Gate, at

Lions Gate’s o tion'
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. Requiring any banks, savings and loan associations, payment processors

or other financial institutions, payment providers, third party processors
and advertising service providers of Defendants or any of them, to
immediately locate all accounts connected to Defendants or Defendants’
infringing activities and to immediately cease transferring or disposing
of any money or other of Defendants’ assets, cease allowing such funds
to be transferred or Withdrawn, and cease allowing any diminutions to be
made by Defendants from such accounts pending further order of the

Court

FIRST AMENDED COMPLAINT
CASE. NO. 2214-CV~06033-MMM-AGRX - 15 -

 

Case 2

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2. That the Court award Lions Gate actual damages and profits or statutory
damages pursuant to 17 U.S.C. § 504, at the election of Lions Gate.

3. That the Court award Lions Gate its costs of suit incurred herein, including
its attorneys’ fees and investigators’ fees incurred by Lions Gate in investigating
Defendants’ unlawful conduct, as provided by applicable law.

4. That the Court retain jurisdiction of this action for the purpose of enabling
Lions Gate to apply to the Court at any time for such further orders and interpretation
or execution of any order entered in this action, for the modification of any such
order, for the enforcement or compliance therewith and for the punishment of any
violations thereof.

5. That the Court grant Lions Gate such other and further relief as it deems

just and equitable to make Lions Gate whole for the damage caused by Defendants.

JURY DEMAND

Plaintiffs demand a trial by jury on all causes of action so triable.

DATED: December 9, 2014 Respectfully submitted,

II:lIIJIIJ)PATRlCK TOWNSEND & STOCKTON

By: /s/ Dennis L. Wilson
DENNIS L. WILSON

Attorne s for Plaintiff
Lions ate Films Inc.

FIRST AMENDED COl\/IPLAINT
CASE. NO. 2:14-CV~06033-MMM~AGRX - 16 -

 

Case 2

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PROOF OF SERVICE

I, the undersi ned say, I am and was at_ all times herein mentioned a resident of
the County of Los ngeles, over the age of ei htee_n gl 82) years and not a party to the
within action _or proceedin z My business ad ress is 7 0 Wilshire Boulevard
Pe_nthouse Suite, Beverly ills, California 90212 and 1 am emplo ed in the offices of
K_ilpatrick Towns_end & Stockton LLP by a member of the Bar o this Court at whose
direction the service mentioned herein below was made.

On December 9, 2014, l served the following document(s):

FIRST AMENDED COMPLAINT FOR: (1) DIRECT FEDERAL COPYRIGHT
INFRINGEMENT (17 U.S.C. §§ 501, ET SEQ.); (2) CONTRIBUTORY FEDERAL
COPYRIGHT INFRINGEMENT (17 U.S.C. §§ 501, ET SEQ.); (3) VICARIOUS FEDERAL
COPYRIGHT INFRINGEMENT (17 U.S.C. §§ 501, ET SEQ.); AND JURY TRIAL
DEMANDED

udp;l)n defendants in this action by means of electronic delivery to the following email
a resses:

kof iaved@hotmail.com;
dmca@billionuploads.com;
admin@billionuploads.com;
John.arsenault@frontrangelegalservices.com

swankshare§§i)igmail.com; _
T E P M omainsbvproxy.com

freshwap@hotrnail.com
quasi-mundo@hotmail.com

abuse@hulkfile.com

Upon the <hulkfile.eu> defendants in this action by means of electronic
delivery to the following email addresses:

alexpepena@gmail.com; webmaster@nilehoster.com; vokota@nwstat.us;
billing@nilehoster.com; nilehosterpav2@vahoo.com; mynewppacct@vahoo.com;
nilehosterpav@vahoo.com; hulkfile@gmail.com; thisismeahmedgamal@gmail.com;
ahmed.saleh@msn.com; pay4voka@ginail.com

As of the filing I have received notice that delivery failed to the following
addresses: abuse@hulkfile.com, alexpepena@gmail.com,
thisismeahmedgamal@gmail.com, ahmedsaleh@msn.com and yokota@ nwstat.us,
except for those addresse, 1 have not received any electronic message or other
indication that the transmissions were unsuccessful.

PROOF OF SERVICE - l -

 

Case 2

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Also on December 9, 2014, I caused an envelope containing a true copy of the
above documents, with postage thereon fully prepaid, to be placed in the United
States mail at Beverly Hills, California, for international service upon the below-
referenced defendants with addresses as follows:

Lucas Lim d/b/a <swankshare.com>
Blk 812 Tampines Ave. 4

#06-219

Singapore 520812

Singapore

Muhammad Javed Ashraf d/b/a <limetorrents.com>
Iwebspro

428-N, Samanabad

Lahore

Punjab 54700

Pakistan

 

John Arsenault Counsel for dmca@played.to
Wessels & Arsenault LLC

1333 West 120th Avenue Suite 219
Westminster, CO 80234-2713

 

 

 

 

I am readily familiar with the practice of Kilpatrick Townsend & Stockton LLP
for collection and processing of correspondence for mailing, said practice being that
in the ordinary course of business, mail is deposited in the United States Postal
Service the same day as it is placed for collection. I am aware that on motion of party
served, service is presumed invalid if postal cancellation date or postage meter date is
more than one day after deposit for mailing in affidavit

I declare under penalty of perjury that the foregoing is true and correct
Executed on December 9, 2014 at Beverl lifornia.

 
  

 

 

Patricia Cloutier

PROOF OF SERVICE - 2 -

 

